         Case 1:19-cr-00307-NRB Document 86 Filed 01/11/21 Page 1 of 1
                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      January 8, 2021

BY ECF
Hon. Sidney H. Stein                                                                 MEMO ENDORSED
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

   Re: United States v. Alberto Moreta, S2 19 Cr. 307 (SHS)

Dear Judge Stein:

         The Government writes to seek exclusion of time from February 1, 2021 to June 21, 2021
in the above-captioned matter. On August 20, 2020, the Court excluded time in this matter
pursuant to the Speedy Trial Act up to February 1, 2021, which was then the parties’ scheduled
trial date. This matter was reassigned to Your Honor on December 16, 2020; on January 5, 2021,
this Court rescheduled the trial date to June 21, 2021. (See ECF No. 84).

        The Government now writes to respectfully request that time be excluded under the Speedy
Trial Act up to the date of trial, and that the “ends of justice served by taking such action outweigh
the best interest of the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). The
defendant indicated in his January 4, 2021 letter-motion seeking adjournment of the trial date that
he consents to the exclusion of time. (See Def. Ltr. at 3 (ECF No. 82)).

       Wherefore, the Government requests that the Court exclude time up to June 21, 2021.


                                               Respectfully submitted,

                                               AUDREY STRAUSS
                                               Acting United States Attorney

                                           by: /s/                               .
                                               Ryan B. Finkel / Sarah Mortazavi
                                               Assistant United States Attorneys
                                               (212) 637-6612 / 2520

The time is excluded from calculation under the Speedy Trial Act from today until June 21, 2021. The
Court finds that the ends of justice served by this continuance outweigh the best interests of the
public and the defendants in a speedy trial pursuant to 18 U.S.C. ' 3161(h)(7)(A).

Dated: New York, New York
       January 11, 2021
